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                       IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                           EASTERN DIVISION (COLUMBUS)

MEDICAL SUPPLY DISTRIBUTION,                     ) CASE NO. 2:21-CV-00161
LLC                                              )
                                                 ) JUDGE WATSON
                      Plaintiff,                 )
                                                 ) MAGISTRATE JUDGE VASCURA
       vs.                                       )
                                                 )
CHEM & CONSULT, INC.                             )
                                                 )
                      Defendant.

               PLAINTIFF MEDICAL SUPPLY DISTRIBUTION, LLC’S
             MOTION TO MODIFY THE PRELIMINARY PRETRIAL ORDER

       Pursuant to Fed. R. Civ. P. 6(b)(1)(A) and Local Rule 16.2, Plaintiff Medical Supply

Distribution, LLC (“Medical Supply”) respectfully moves the Court to modify the Preliminary

Pretrial Order (ECF No. 39) and extend the deadlines falling on and after December 22, 2021 by

sixty (60) days from the date Medical Supply’s Motion for Leave to File, Instanter, Amended

Complaint (ECF No. 49) (“Motion for Leave”) is decided. Fed. R. Civ. P. 6(b)(1)(A) and Local

Rule 16.2 provide that the Court may extend time for good cause shown. Modification of the

Preliminary Pretrial Order is fully warranted because the parties’ case strategy and expenditure

of resources is dependent on the Court’s decision on the Motion for Leave, and the modification

is being requested timely, in good faith, is not futile, and is without prejudice to Mitch Goodman

and Defendant Chem & Consult, Inc. In fact, granting the Motion will, at the very least,

postpone significant expense.

       Pursuant to Local Rule 7.3.(a), Medical Supply requested Defendant Chem & Consult,

Inc.’s consent to file Motion to Modify the Preliminary Pretrial Order, but Defendant Chem &

Consult, Inc. did not provide its consent. Accordingly, Medical Supply respectfully requests that

the Court extend the deadlines falling on and after December 22, 2021 by sixty (60) days from
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the date Medical Supply’s Motion for Leave is decided. The supporting reasons for this motion

are more fully set forth in the attached Memorandum in Support.

Dated: December 16, 2021                       Respectfully submitted,

                                               s/ Marc S. Blubaugh
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                                               Attorney)
                                               ABIGAIL R. RIFFEE (0098867)
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                                               Attorney for Plaintiff Medical Supply
                                               Distribution, LLC


                              MEMORANDUM IN SUPPORT

       In the interest of judicial efficiency, Medical Supply hereby incorporates by reference the

factual background, procedural background, and additional facts uncovered in discovery as

detailed in Medical Supply’s Motion for Leave to File, Instanter, Amended Complaint (ECF No.

49) (“Motion for Leave”) at Section I. Based on the newly discovered facts, on December 6,

2021, Medical Supply timely filed its Motion for Leave to add Mitch Goodman as an additional

party defendant and to assert an additional claim against Mitch Goodman and Defendant Chem

& Consult, Inc. (“Defendant Chem & Consult”).

       Still, prior to Medical Supply’s discovery of the newly discovered facts, the parties

agreed to certain deadlines as reflected in the Preliminary Pretrial Order (ECF No. 39). For

example, the parties agreed to produce primary expert reports by December 21, 2021, rebuttal

expert reports by January 21, 2022, and to complete discovery by February 21, 2022.



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       While Medical Supply has diligently prosecuted its case and conducted discovery over

the course of several months, if the Court allows Medical Supply to add Mitch Goodman as a

party defendant and permits Medical Supply’s additional claim to be asserted, Medical Supply

will need to produce expert reports that will not be necessary if Medical Supply’s Motion for

Leave is denied. In turn, Defendant Chem & Consult will likewise not need to incur expert-

associated expenses for the time being. Additionally, Medical Supply will need to conduct

further discovery to prosecute its case against both Mitch Goodman and Defendant Chem &

Consult. In sum, the parties’ case strategy and expenditure of resources is dependent on the

Court’s decision on Medical Supply’s Motion for Leave.

       Because Medical Supply’s Motion for Leave will not be ripe for a decision until, at the

earliest, January 10, 2022, after the expert report deadline, Medical Supply states that good cause

exists to extend the deadlines falling on and after December 22, 2021 by sixty (60) days from the

date Medical Supply’s Motion for Leave is decided.           Medical Supply’s request is being

requested timely, in good faith, is not futile, and is without prejudice to Defendant Chem &

Consult, Inc. Presumably, if Medical Supply’s Motion for Leave is granted, the extension of

time will also benefit Mitch Goodman and Defendant Chem & Consult to allow for additional

time to prepare their defense. Therefore, Medical Supply respectfully requests that the Court

grant Medical Supply’s Motion to Modify the Preliminary Pretrial Order.

Dated: December 16, 2021                        Respectfully submitted,

                                                s/ Marc S. Blubaugh
                                                MARC S. BLUBAUGH (0068221) (Trial
                                                Attorney)
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                                   CERTIFICATE OF SERVICE

        I hereby certify that, on this 16th day of December, 2021, a copy of the foregoing

document was electronically filed with the Court’s electronic filing system, which will provide

notice of the same to all parties indicated on the electronic filing receipt.


                                                s/ Marc S. Blubaugh
                                                Marc S. Blubaugh (0068221)
                                                Attorney for Plaintiff Medical Supply Distribution,
                                                LLC




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